Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page1of14

AG 440 (Rey, 66/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe
Southern District of New York

JA ener Qh wine.

Plaintiffs)

denn ettr Maly ; “Kevin, Shaine

Wyte & edule , wu (kee Rous oy
Joseph Won w: 7 PRoert MovVrsy

Sohn Koel
Defendants)

Civil Action No.

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SUMMONS IN.A CIVHL ACTION

To! Defendant's name and address)
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Ae Thromeas | KOE S collede

IRS Roote Buo, SQawkill, WY 1O1T6-lo%

’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —- or 60 days if you
ate the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of .
the Federal Rules of Civil Procedure. The answer ot motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

Pro Se Renee Quiwkyue,

——  "B Kina sran Pwese
Serna, Watley, NY LOTT]

If you fail to respond, judgment-by devaylt will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion ‘with the cont.

ORT

Date:
Signaturg of Clerk or Deputy Clerk

Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 2of14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (2)

This summons for (ame of individual and title, if any)

was received by me on (date)

CO) I personally served the summons on the individual at (place)
on (date) 5 OF

Cl Lleft the summons at the individual’s residence or usual place of abode with (name}

, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

on (date)
Ol Iserved the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3 or
O Ireturned the summons unexecuted because 3; or
G Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's addrexs

Additional information regarding attempted service, etc: we te BS
Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 3of 14

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe _
Southern District of New York

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ma } AY CV A PYM)
Kenn eta Paty , Keum Slain ! Civil Action No.
Wouwrera Cole, BUdKi Roussg)
ote in tonn wy “Raerk Movira/

SOWN del
Defendant(s} )
SUMMONS IN.A CIVIL ACTION

To: (Defendant's name and address)

Voeuinm Shine
Sk Thomas Wevinas College
WS Wovke, Buda, Soak, WY 1o> (6 -toSso

'_A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of .
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's atiomey,

whose nate and address are:

Pro Se Bence Quikyue,
2 KANS Shon Devoe

Setring Watley, Wy lo¢TT

If you fail to respond, judgment by default will be entered ag,
You also noust file your answer or motion with the court,

ainst you for the relief demanded in the complaint.

WA

Signature bf Clerk or Deputy Clerk

Date:

Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page4of14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, ifany)

was received by me on (date)

1 I personally served the summons on the individual at (place)

on (date) ; or

1) Heft the summons at the individual’s residence or usual place of abode with (name)
, aperson of suitable age and discretion who resides there,

"and mailed a copy to the individual’s last known address; or

on (date)
O Lserved the suromons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 5 or
Cl Ireturned the summons unexecuted because ; or
O Other fspecify):
for services, for a total of $ 0.00

My fees are $ for travel and $

I declare under penalty of perjury that this information is tre.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page5of14

AO 440 (Rev. 06/12) Summons in a Civil Action

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UNITED STATES DISTRICT COURT

_ for the |
Southern District of New York

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Plaintiff(s)

“Wen in Slane ,

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weve Move &/

Civil Action No.

Meet Nema ioe Tee” ac Nee! hate nee eet ae! ed et

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

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45 SMWovke Bud) Qoawkih, NY 4

O41L — 1950
’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the atiached complaint or a motion under Rule 12 of.
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,

whose name and address are:

Pro Se “Renee Quimdyue,

> K Wnd Shon Dery e
Sewing Valley, Ny lotTl

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion, with the court, ,

gee  , CLERK QF COURT

“Signature oh perk or Deputy Clerk

Date:

Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 6 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

was received by me on (date)

Date:

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 (1)

This summons for (name of individual and title, ifany)

(7 I personally served the summons on the individual at (place)
on (date) 5 Or

O Left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) "and mailed a copy to the individual’s last known address; or

7 I served the summons on fname of individual) , who is

designated by law to accept service of process on behalf of (name of organization)
On, (date} 5 or

1 [returned the summons unexecuted because 3 or

OF Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0,00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 7 of 14

AO 440 (Rev. 06/12) Summons in e Civil Action

UNITED STATES DISTRICT COURT

forthe
Southern District of New York

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Wate COVE | Wud Row Sy
Mose i DORN ‘ “zoek Meves/
iN KB de| )
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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"A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of .
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

Pro Se Bence Qumdyue,

oe KK No Stor Des e
Spring, Watley, My lOotT]

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or moti on with, the court.

Jun tg 2025 °°

Date: a 7
Signature ff Clerk or Deputy Clerk

Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 8 of 14

AO 440 (Rev. 06/12} Summons in a Civil Action (Page 2)

Civil Action No.

was received by me on (date)

Date:

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (nemme of individual and title, if any)

C1 I personally served the summons on the individual at (place)

On. (date) 5 or

(J Left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

‘and mailed a copy to the individual’s last known address; or

on (date)
[served the summons on (name of individual) ; who is
designated by law to accept service of process on behalf of (name of organization}

on (date) ; or
{J Lreturmed the summons unexecuted because Sor
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 9 of 14

AO 440 (Rey. 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of New York
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Plaintiffs) 6) “ a
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SO iN adel )
Defendant(s) )
SUMMONS IN.A CIVIL ACTION
To: Wefendant’s name and address)
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’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —— or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of .
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,

whose name and address are:
Pro Se “Rewee. Quiwdyue,
DB Kina sta Prowse
Setring, Valley, Ny lotTl

If you fail to respond, judgment by.default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with: the court. ‘

poet

jun 19 2028 7

Date:

Case 1:25-cv-04865-JLR Document4 _ Filed 06/10/25 Page 10 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

was received by me on (date)

Date:

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Y)

This summons for (name of individual and title, ifany)

CO I personally served the summons on the individual at (place)

on (date) 5 or

(J J teft the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

, aud mailed a copy to the individual’s last known address; or

on (date)
O Iserved the summons on (name of individual} , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3 or
M1 Treturned the summons unexecuted because ; or
1 Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 11 of 14

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

forthe .
Southem District of New York

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Plaintiff(s)
“en A Gling. / )
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Civil Action No.
\Kena ext aly } 2 ee ivil Action No
WMarria Coupe; Pride Kou $y
Joseph Pon W: / “Pp olert Movers
CWA edel
Defendant(s)
SUMMONS IN.A CIVIL ACTION

To: (Defendant's name and address)

Rober’ Woo Urey

Qi Thromas Dye ina Ca\\ ege

25 Rovke 340, Soavkll , MY 10dIG~ 10 50
’ A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of;
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

Pro Se “Bence Quikyue.
= Ky na stan Drerwe
Selena, Vratley, NY lod |

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
‘You also xoust file your answer or motion. with the court. ,

CLERK OF COURT
vee wt, LU G/

Date:

Signature of Cpe or Deputy Clerk
Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 12 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

was received by me on (date)

Date:

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, fan)

0 I personally served the summons on the individual at (place)

ou. (date) ; or

Cl Lleft the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

on. (date)
OI setved the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 5; oF
0) Ireturned the summons unexecuted because Sor
C) Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 1:25-cv-04865-JLR Document 4 Filed 06/10/25 Page 13 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of New York
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}  95cV
Plaintifi(s) feag BH
\Aenn ett S aly “den in Ching J ) Civil Action No.
Wate COV Re, Pd: Rowdy }
Joceph Onin; Rober’ MOVE
+o Rn Ke Ade \ )
Defendant(s) )
SUMMONS IN.A CIVIL ACTION

To: (Defendant's name and address)
Sdkn E bel
Ge Thomas Kaormes College

I¥S VRovke BUO, SPawk A, MY

A lawsuit has been filed against you.

(O4 Wo-fOSO

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of .
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Pro Se “Bence Quvwkyue.
“A, K na ston Percy e@
Sering Valley, Ny lov!

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answet or motion -with the court.
vi” fog

EB CLERK OF CO

AMerthture oy or Deputy Clerk

Date:

Case 1:25-cv-04865-JLR Document4 Filed 06/10/25 Page 14 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

was received by me on (date)

Date:

PROOF OF SERVICE
(This section shouid not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

© Ipersonally served the summons on the individual at (place)
On. (date) 5 or

(7 Left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

on (date)
1 served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3 or
(7 Lreturned the summons unexecuted because por
1 Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server 's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
